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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF INDIANA
                         HAMMOND DIVISION


 UNITED STATES OF AMERICA,                )
                                          )
 Plaintiff/Respondent,                    )
                                          )
 vs.                                      )    NO. 2:09-cr-43
                                          )         2:13-CV-454
 JOVAN DEMONT STEWART,                    )
                                          )
 Defendant/Petitioner.                    )


                           OPINION AND ORDER
       This matter is before the Court on the: (1) Petition for

 Reconsideration and Annulment or Modification of Judgment, filed by

 Petitioner, Jovan Demont Stewart, on March 3, 2015 (DE #610); and

 (2) Motion for Extension of Time to File Notice of Appeal or in the

 Alternate a Stay, or Notice of Appeal, filed by Petitioner, Jovan

 Demont Stewart, on March 6, 2015 (DE #611).              The Petition for

 Reconsideration (DE #610) is DENIED FOR LACK OF JURISDICTION.               The

 motion for extension of time to file a notice of appeal, or in the

 alternative a stay, or a notice of appeal (DE #611), is also

 DENIED.



 BACKGROUND

       On January 7, 2015, this Court entered an opinion and order

 denying Stewart’s motion under 18 U.S.C. § 2255, denying his
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 request for an evidentiary hearing, and declining to issue a

 certificate of appealability.          (DE #601).         In the current motion

 for reconsideration, Stewart rehashes many arguments he made in the

 voluminous briefing of his section 2255, as well as attaches an

 exhibit which purports to be a letter from S.K. dated January 2,

 2010 (DE #610, pp. 18-24). Although Stewart seems to claim that he

 attached this letter as an exhibit to the Court earlier, the Court

 has scoured the docket (including DE #543, 578, and 559), and notes

 that the letter was not previously submitted to the Court.



 DISCUSSION

       When a motion is brought requesting reconsideration of a final

 judgment, a court must first determine whether it has jurisdiction

 to entertain the motion. Under certain circumstances, a motion for

 reconsideration motion must be treated as a successive habeas

 petition.    See Dunlap v. Litscher, 301 F.3d 873, 875-76 (7th Cir.

 2002); Harris v. Cotton, 296 F.3d 578, 579-80 (7th Cir. 2002)

 (citations omitted) (“Prisoners are not allowed to avoid the

 restrictions that Congress has placed on collateral attacks on

 their convictions . . . by styling their collateral attacks as

 motions for reconsideration under Rule 60(b).”)                  If a motion for

 reconsideration is in effect a second or successive petition, a

 district court lacks jurisdiction to consider it unless the court

 of appeals has granted the petitioner permission to file such a


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 petition.    See 28 U.S.C. § 2255(h); 28 U.S.C. § 2244; Dunlap, 301

 F.3d at 875 (noting that 28 U.S.C. section 2255, paragraph 8, is

 “clear and bar[s] a district court from using Rule 60(b) to give a

 prisoner broader relief from a judgment rendered by the court in

 the prisoner’s [2255] proceeding.”).               The Seventh Circuit has

 explained the Supreme Court’s position on such motions as follows:

             Gonzalez [v. Crosby, 545 U.S. 524 (2005)]
             holds that a motion under Fed.R.Civ.P. 60(b)
             must be treated as a collateral attack when
             the prisoner makes a ‘claim’ within the scope
             of § 2244(b).        This means, the Court
             concluded, that a procedural argument (say,
             one about the statute of limitations) raised
             using Rule 60(b) is not a new collateral
             attack, but that an objection to the validity
             of the criminal conviction or sentence is one
             no matter how it is couched or captioned. See
             also, e.g., Melton v. United States, 359 F.3d
             855 (7th Cir. 2004); United States v. Evans,
             224 F.3d 670 (7th Cir. 2000). The reasoning
             of Gonzalez does not depend on which rule the
             prisoner   invokes;   its   approach   is  as
             applicable to post-judgment motions under
             Fed.R.Crim.P. 6(e) as it is to motions under
             Rule 60(b).

 U.S. v. Scott, 414 F.3d 815, 816 (7th Cir. 2005).

       In this case, Stewart does not argue that there were any

 procedural defects in the proceedings related to the Court’s

 decision to deny relief under section 2255.1               Rather, his motion

 for reconsideration again attempts to challenge the validity of his



       1
       To the extent Stewart claims this Court wrongfully did not
 address the letter he attaches to his motion (DE #610, p. 7),
 Stewart did not previously provide it to the Court. It cannot be
 considered new evidence, either, as it is dated January 2, 2010.

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 sentence, arguing (as he has done before) that his counsel was

 incompetent for, inter alia,          not using an entrapment defense, for

 not moving for a severance, and for failing to investigate.

 Additionally, he makes the Batson challenge (as his did in the

 section 2255 motion), insists there was insufficient evidence to

 convict him, and reiterates his argument that perjured testimony

 was presented to the grand jury.             As such, Stewart’s motion is a

 successive claim for relief under section 2255, for which he must

 obtain leave to file from the Seventh Circuit Court of Appeals. 28

 U.S.C. § 2255(h).      This Court lacks jurisdiction to hear Stewart’s

 motion for reconsideration, and it must be DISMISSED.

       This   Court    has   already    denied     Stewart     a   certificate      of

 appealability.       (DE #601, pp. 22.) A certificate of appealability

 may only issue if the petitioner “has made a substantial showing of

 the denial of a constitutional right.”               28 U.S.C. § 2253(c)(2).

 Because   this   motion     is   an   unauthorized     successive       collateral

 attack, this Court cannot treat it as a notice of appeal, and

 cannot issue a certificate of appealability.                See Sveum v. Smith,

 403 F.3d 447 (7th Cir. 2005).            Moreover, to the extent Stewart

 requests an extension of time to file a notice of appeal, the Court

 cannot grant that request.2

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        Moreover, Federal Rule of Appellate Procedure states in a
 criminal case, a defendant’s notice of appeal must be filed in
 the district court within 14 days after the entry of the judgment
 or order being appealed. Fed. R. App. P. R4(b)(1)(A). Even if
 the Court could find excusable neglect or good cause, a district

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 CONCLUSION

       The Petition for Reconsideration (DE #610) is DENIED FOR LACK

 OF JURISDICTION. The motion for extension of time to file a notice

 of appeal, or in the alternative a stay, or a notice of appeal (DE

 #611), is also DENIED.




 DATED:       March 11, 2015                  /s/ RUDY LOZANO, Judge
                                              United States District Court




 Court may only extend the time to file a notice of appeal for a
 period not to exceed 30 days from the expiration of the time
 otherwise prescribed by Rule 4. Stewart has exceeded that time
 limit.

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